              Case 3:07-bk-03847-JAF              Doc 96      Filed 04/21/11        Page 1 of 3




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

In re:                                                           Case No. 07-03847-JAF
         THELMA L WRIGHT

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Douglas W. Neway, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/04/2007.

         2) The plan was confirmed on 12/21/2007.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
02/20/2008, 04/13/2010, 09/29/2010.

        4) The trustee filed action to remedy default by the debtor in performance under the
plan on NA .

         5) The case was completed on 08/24/2010.

         6) Number of months from filing to last payment: 36.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $176,300.00.

         10) Amount of unsecured claims discharged without payment: $560.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
               Case 3:07-bk-03847-JAF             Doc 96             Filed 04/21/11          Page 2 of 3




Receipts:

           Total paid by or on behalf of the debtor                      $81,753.02
           Less amount refunded to debtor                                 $8,623.32

NET RECEIPTS:                                                                                                    $73,129.70



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $4,150.00
     Court Costs                                                                         $0.00
     Trustee Expenses & Compensation                                                 $3,546.86
     Other                                                                               $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                 $7,696.86

Attorney fees paid and disclosed by debtor:                                $0.00



Scheduled Creditors:
Creditor                                                Claim          Claim            Claim        Principal         Int.
Name                                    Class         Scheduled       Asserted         Allowed         Paid            Paid
ASSET ACCEPTANCE CORP               Unsecured               150.00          210.26          210.26         210.26             0.00
CITIFINANCIAL EQUITY SERVICES       Unsecured             3,991.00        5,652.75        5,652.75       5,652.75             0.00
CITIFINANCIAL EQUITY SERVICES       Secured               9,000.00        3,500.00        4,006.80       4,006.80             0.00
CITY & POLICE FED CREDIT UNION      Secured              18,000.00       17,790.21       20,069.28      20,069.28             0.00
COLLECTION                          Unsecured               560.00             NA              NA            0.00             0.00
ECAST SETTLEMENT CORPORATION        Unsecured               297.00          297.36          297.36         297.36             0.00
MIKE HOGAN TAX COLLECTOR            Secured               1,900.00        1,866.77        1,410.58       1,410.58             0.00
OCWEN LOAN SERVICING                Secured             160,000.00      165,217.54       30,834.36      30,834.36             0.00
OCWEN LOAN SERVICING                Secured                    NA        10,448.54        2,876.76       2,876.76             0.00
OCWEN LOAN SERVICING LLC            Secured                    NA              NA              NA            0.00             0.00
RJM ACQUISITIONS LLC                Unsecured                  NA            74.69           74.69          74.69             0.00




UST Form 101-13-FR-S (9/1/2009)
               Case 3:07-bk-03847-JAF               Doc 96       Filed 04/21/11         Page 3 of 3




 Summary of Disbursements to Creditors:
                                                                      Claim             Principal              Interest
                                                                    Allowed                 Paid                  Paid
 Secured Payments:
        Mortgage Ongoing                                         $30,834.36          $30,834.36                  $0.00
        Mortgage Arrearage                                        $2,876.76           $2,876.76                  $0.00
        Debt Secured by Vehicle                                  $24,076.08          $24,076.08                  $0.00
        All Other Secured                                         $1,410.58           $1,410.58                  $0.00
 TOTAL SECURED:                                                  $59,197.78          $59,197.78                  $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00                 $0.00
         Domestic Support Ongoing                                      $0.00               $0.00                 $0.00
         All Other Priority                                            $0.00               $0.00                 $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                                      $6,235.06            $6,235.06                 $0.00



 Disbursements:

          Expenses of Administration                                    $7,696.86
          Disbursements to Creditors                                   $65,432.84

 TOTAL DISBURSEMENTS :                                                                                    $73,129.70



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/21/2011                                  By: /s/ Douglas W. Neway
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
